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UNITED STATES pits

SOUTHERN DISTRICT OF NEW YORK O R | GINA L

- - ~ — _ _ — _ - on _ ~ ~ —_ _ ~ x
UNTTED STATES OF AMERICA
~V.o- INDICTMENT
FUYI SUN, £
a/k/a “Frank,”
Defendant.
: USpc SDNY
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ELECTRONICALLY FILED
INTRODUCTORY ALLEGATIONS poc #-
Relevant Legal Provisions | DATE FILED: JUN 09 2016

1. Pursuant to the International Emergency Economic Powers
Act (“IEEPA”), 50 U.S.C. §§ 1701 - 1707, the President of the United
States has the authority to deal with unusual and extraordinary
threats to the national security, foreign policy and economy of the
United States. Under IEEPA, the President may declare a national
emergency through Executive Orders that had the full force and effect
of law.

2. IEEPA also empowers the U.S. Department of Commerce
(“DOC”) to issue regulations governing exports. Initially, the
Export Administration Act (“EAA”), 50 App. U.S.C. §§ 2401-2420,
regulated the export of goods, technology, and software from the
United States. Pursuant to the provisions of the EAA, the DOC
promulgated the Export Administration Requiations (“EAR”), 15 C.F.R.
§§ 730-774, which contain additional restrictions on the export of

goods outside of the United States, consistent with the policies and
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provisions of the EAA. See 15 C.F.R. § 730.02. Although the EAA
lapsed on August 17, 2001, pursuant to the authority provided to the
President under IEEPA, the President issued Executive Order 13222,
which declared a national emergency with respect to the unusual and
extraordinary threat to the national security, foreign policy, and
economy of the United States in light of the expiration of the EAA.
Accordingly, pursuant to IEEPA, the President ordered that the EAR’s
provisions remain in full force and effect despite the expiration
of the BAA. Presidents have issued annual Executive Notices
extending the national emergency declared in Executive Order 13222
from the time period covered by that Executive Order through the
present. See, e.g., 80 Fed. Reg. 48233 (Aug. 11, 2015). Under
TEEPA, it is a crime to willfully violate any regulation promulgated
thereunder, including the EAR. See 50 U.S.C. § 1705.

3. Pursuant to its authority derived from IEEPA, the Doc
reviewed and controlled the export of certain goods and technology
from the United States to foreign countries. In particular, the DOC
placed restrictions on the export of goods and technology that it
determined could make a significant contribution to the military
potential of other nations or that could be detrimental to the foreign
policy or national security of the United States. Under ITEEPA and
the BAR, it is a crime to willfully export, or attempt or conspire

to export, from the United States any item listed on the Commerce
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Control List (*CCL”} requiring an export license without first
obtaining an export license from the DOC, See 50 U.S.C. § 1705(¢);
15 C.F.R. § 764.2,

4, On or about November 5, 2015, the DOC issued a certified
license determination declaring that, at times relevant to this
Indictment, Toray type M60JB-3000-50B carbon fiber was designated
on the CCL at Export Control Classification Number 1C210.A, and was
controlled for export from the United States for nuclear
non-proliferation and anti-terrorism reasons, Toray type
M60JB-3000-50B carbon fiber is a high-grade carbon fiber, and is used
primarily in aerospace and military applications, including in the
production of unmanned aerial vehicles (commonly known as “drones” )
and in other government defense applications.

COUNT ONE
(International Emergency Economic Powers Act)

The Grand Jury charges:

5. From at least in or about April 2011 through on or about
April 13, 2016, in the Southern District of New York and elsewhere,
FUYI SUN, a/k/a “Prank,” the defendant, and others known and unknown,
knowingly and willfully attempted to export and cause to be exported
from the United States to China Toray type M60JB-3000-50B carbon
fiber, without having first obtained the required licenses from the

United States Department of Commerce, in violation of Title 50,
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facilitate the transportation, concealment, and sale of such
merchandise, article and object, prior to exportation, knowing the
same to be intended for exportation contrary to any law and regulation
of the United States, to wit, SUN attempted to export from the United
States to China Toray type M600B-3000-50B carbon fiber without first
having obtained the required licenses from the United States
Department of Commerce, in violation of Title 50, United States Code,
Sections 1702 and 1705.
(Title 18, United States Code, Section 554.)

FORFEITURE ALLEGATION

8. As the result of committing the offenses alleged in Counts
One through Three of this Indictment, FUYI SUN, a/k/a “Frank,” the
defendant, shall forfeit to the United States, pursuant to Title 18,
United States Code, Section 981(a) {1} (c} and Title 28, United States
Code, Section 2461(c), any and all property, real and personal, which
constitutes or is derived from proceeds traceable to the offenses
charged in Counts One through Three.

SUBSTITUTE ASSET PROVISTON

9. Tf any of the above-described forfeitable property, as
a result of any act or omission of the defendant:

(1) cannot be located upon the exercise of due diligence;

(2) has been transferred or sold to, or deposited with, a third

person;
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(3) has been placed beyond the jurisdiction of the Court;
(4) has been substantially diminished in value; or
{5} has been commingled with other property which cannot be
subdivided without difficulty;
it is the intent of the United States, pursuant to Title 21,
United States Code, Section 853(p), to seek forfeiture of any other
property of the defendant up to the value of the forfeitable property

described above.

(Title 18, United States Code, Section 981 (a) (1) (C); Title 21, United
States Code, Section 853(p); Title 28, United States Code, Section
2461(c).)

FOREPERSON PREET BHARARA 7Pe

United States Attorney
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA
_ Vv. -

FUYI SUN,
a/k/a “Frank,”

Defendant.

INDICTMENT

16 Cr.

(18 U.S.C.-§ 554;
50 U.S.C. §8§ 1702 and 1705.)

PREET BHARARA
United States Attorney.

A TRUE BILL

Foreperson.

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